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NAMED PLAINTIFFS
JUDY L. BOURGEOIS, ET AL v. CAVALIER HOME BUILDERS, LLC, ET AL.
No | Last Name First Name Representative Address of THU County | Contractor
1. Cannon Shalea Mary C. Middleton 4610 Saratoga Ave. Jackson Bechtel
(Mother) Pascagoula, MS 39581
2. Middleton Mary 4610 Saratoga Ave, Jackson Bechtel
Pascagoula, MS 3958]
3. Perryman Fredrick 4610 Saratoga Ave. Jackson Bechtel
Pascagoula, MS 39581
4, Reinike Amanda 220 West Old Pass Rd Harrison Bechtel
Long Beach, MS 39560
5. Reinike Tanner Amanda Reinike 220 West Old Pass Rd Harrison Bechtel
(Mother) Long Beach, MS 39560
6. Selmon Jasmine Mary C. Middleton 4610 Saratoga Ave. Jackson Bechtel
(Mother) Pascagoula, MS 39581

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